
PER CURIAM:
I WRIT NOT CONSIDERED. Untimely filed pursuant to La.S.Ct.R. X § 5.
Relator has now exhausted his right to obtain post-conviction relief in State court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of á second or successive application only under the narrow circumstances provided in La. C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive filings mandatory. Relator has filed an application for post-conviction relief - in the district court, and the district court’s ruling denying relief is now final. Hereafter, unless he can show that one of the narrow excep*1076tions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review. The district court is ordered to record- a minute entry consistent with this per curiam.
